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Case 1:22-cv-00686-LJV Document1 Filed 09/12/22 _ Page 4, “ofa

WwW SA
UNITED STATES DISTRICT COURT kyr ‘4
WESTERN DISTRICT OF NEW YORK ( ( SEP 12.2022 )
. TS
Antonio Bruno Tete roxwenes Sg

We
Plaintiff, ~ESTERN DISTRIC

-Against-
Civil Rights

Anthony J. Annucci Complaint
Acting Commissioner Pursuant 42 U.S.C. 1983

In His Individual Capacities Case No. 7

S. Beck
Medical Department Superintendent

2 \
In Her Individual Capacities
22 CV 686 /

Mr. White
Dep. of Security
In His Individual Capacities

J. Wolcott
Superintendent
In Her Individual Capacities

OST Officers "John Does"
In Their Individual Capacities

Hostage Rescue Team "John Does"
In Their Individual Capacities

Jury Trial Demand: YES

Jurisdiction And Venue

1. This is an action of civil, seeking relief and/or Damages to defend
and protect the rights guaranteed by the Constitution of the United
States. This Action is brought pursuant to 42 U.S.C.§1983, along with
12101-200. This Court has jurisdiction over the Action pursuant to

28 U.S.C.§ 1331, 1343(3)(4) and 2201.
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Parties To This Action:

2. Plaintiff's Information;
Name: Antonio Bruno, Din. # 09A2092
Present Place of Incarceration:
Attica Correctional Facility
639 Exchange Street
Attica, New York 14011-0149
3. Defendant's Information;
Defendant No.1: Anthony J. Annucci
Official Position: Acting Commissioner
Address: The Harriman State Campus,
1220 Washington Avenue
Albany, New York 12226-2050
4. Defendant No.2: Mr. White
Official Position: Dep. of Security
Address: Attica Correctional Facility
639 Exchange Street
Attica, New York 14011-0149
5.Defendant No.3: J. Wolcott
Official Position: Superintendent
Address: Attica Correctional Facility
639 Exchange Street

Attica, New York 14011-0149

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6. Defendant No.4: John Doe's
Official Position: OSI Officer's
Address: Unknown

7. Defendant No.5: John Doe's

Official Position: Hostage Rescue Team

Address: Unknown

Statement of Facts Relevent to the Action Herein:

1. On or about April 29, 2022 all incarcerated individuals were put
on a "lock down", with no water or power in their cells for eight
days. During this time a Hostage Rescue Team was called in due to a
disturbance here in Attica. During the eight day lock down the
Hostage Rescue Team abused their authority by assaulting the
prisioners with excessive amounts of physical and psycological abuse
for eight days here in Attica. On May 4, 2022 the OSI Officer's did
nothing to stop the Hostage Rescue Team from beating the inmate's in
their cells as well as out of their cells. Furthermore, the Hostage
Rescue Team were not wearing thier body camera's, so as to ensure the
safety of the prisioner's. In C-Block 35-36 Company there are
security camera's on the company (see the camera footage for your
review).

Under Directive No. 4910 "For Control of a Search for Contraband".

Officer's violated the Directive by coming into my cell while I was

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still in the cell. I was having a panic attack and was very paranoid.
I told the Officer's "I need to see Mental Health. I'm on medications
it's urgent. The Officer's response was to physically assault me.
During the search for contraband the Officer's told me to "Shut the
Fuck up or we will kill you”.

2. During the search the Officer's took my knee brace that is needed
for a pre-existing medical condition that I suffer from and Arthritis
in my left knee. I told the Officer's I suffer from PTSD and I'm on
medication for my condition. The Officer's response was to violently
assault me to the ground. As a result of these unprovoked and
unwarranted attacks on my person by the Hostage Rescue Team I now
have lasting injuries that I am suffering from.

3. The Medical Department failed to responed in any manner to the
cries/pleas for help from the inmates during the eight day lockdown.
Sick call was on High Notice due to the medical needs of inmates. And
yet no medical provider's came to the Block.

4. I suffered from dizziness, dehydration, and disorientation due to
heat exhaustion, and a severe rash from the heat’and plastic
mattress, bronchial irritation from fire "wicks" burning and smoking
all day and night.

5. This has caused increased pain to a pre-existing back injury and
knee injury. Because the Officer's took my knee brace that's needed
day and night to stop the constant pain I suffer with.

6. OSI Officer's were present; Dated:5/4/22 Their names are Ammerman,

Davis, Olson, and Kennedy. They stood idly and watched the Hostage

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Rescue Team abuse their power and authority.

7. The challenged conduct was attributable to a person acting under
the Color of State Law and that such conduct deprived him of rights,
privileges, or immunities secured by the Constitution of the United

States.

Statement of Claims Relevent to the Action Herein:

42 U.S.C.A. §1983 to obtain relief from deprivation of U.S.

Constitutions 8th and 14th Amendments;

8. The United States Constitution, along with New York State
Article(s), Federal and State Laws and Statues, to protect citizens
against, Deprivations of Government arbitrary powers and civil
rights, were violated, when Anthony J. Annucci, allowed the Hostage
Rescue Team to search Attica Correctional Facility without the proper
body camera's to ensure the safety of the inmates at Attica
Correctional Facility. The Hostage Rescue Team was under his
authority.

9. Dep. of Security, Mr. White, violated the Plaintiff's rights
nonetheless. Mr. Bruno does allege that Mr. White was "Grossly
Negligent in Supervising [his] subordinates". Mr. White was allegedly
responsible for the supervision or individuals who search Attica C.F.
on his watch. This allegation does state a cleaim under'Colon Law"

and Mr. White must remain as a defendant.

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10. J. Wolcott violated the Plaintiff's rights. Mr. Bruno does allege
that J. Wolcott was "Grossly Negligent in Supervising [her]
subordinates". Mr. Bruno is alleging that this failure to supervise
resulted in Mr. Bruno being mistreated by the Hostage Rescue Team
under her Authority.

11. OSI Officer's were present while the searches were taking place.
OSI violated the Plaintiff's rights nonetheless. Mr Bruno does allege
that OSI was "Grossly Negligent in the Supervising of the Hostage
Rescue Team and allowed the Plaintiff to be violently assaulted by
the Hostage Rescue Team while on OSI's watch.

12. S. Beck violated the Plaintiff's rights. Mr Bruno does allege
that S. Beck was "Grossly Negligent in Supervising [her]
subordinates". It is also apparent that S. Beck is responsible for
the Medical Department and her lack of supervision resulted in the
inmates not recieving any form of medcial help for eight days.

...see Hathaway v. Coughlin, 99 F.3d 550, 553(2d cir. 1995).

13. The Hostage Rescue Team violated the Plaintiff's rights. When
they came into my cell, slammed me into the wall which led to my bad
knee hitting the wall with significant force and weight of the
on-rushing Hostage Rescue Team individuals. I have a pre-existing

knee injury with multiple screws inside my knee.

14. The Hostage Rescue Team during the search took my knee brace

that is needed every day to help alleviate the pain I suffer with.

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15. All defendants have shown deliberate indifference for the
mistreatment I endured for eight days. I am a Mental Health inmate
and on medication for my condition and was still mistreated by the
Hostage Rescue Team.

16. The essential requirements for Action under Section 1983, to
obtaining relieft is as follows: Every person who under the color
of any Statute, Ordinance, Regulation, Custom, or usage of any
state or territory or District of Colombia, subjects or cause to
be subjected, any citizen of the United States or other person
while within the jurisdiction thereof, to the deprivation of any
rights, privileges or immunities secured by the Constitution and
Laws. Shall be. Liable, to the party injured in an Action at Law
Suit in equity or other proper proceeding for redress.

17. The present case, Plaintiff was deprived of his United States
Constitutional Equal and Civil Rights and Privileges. From cruel
and unusual punishment in violation of Fighth Amendment, and
Plaintiff was denied proper medical care.

18. Attica Dep. of Security, Mr. White, and Superintendent

J. Wolcott. Allowed the Hostage Rescue Team to abuse their

authority for eight days under supervision. Because "0.S.1."

Officer's never stopped the Hostage Rescue Team from abusing their

positions of power and authority, while they physically assaulted

the prisoners.

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Point 2:
Deprivation of the Eight Amendment through that of the

Fourteenth Amendment

19. The United States Eighth and Fourteenth Amendments (AMEND) as
well as New York Article and Sections, which all states within the
jurisdiction of the United States and its Laws, are bound to
follow, was deprived. As the 14th Amendment states:

"All persons born or naturalized in the United States subject to the
jurisdiction thereof, are citizens of the United States and of the
State vherein they reside. No State shall make or enforce any law which
shall abridge the privileges or inmmities of citizens of the United
States; Nor shall any State deprive any person of life, liberty or
property without due process of Law: Nor deny to any person within its
jurisdiction the equal protection of the las."

20. The Due Process clause of the 14th Amendment has Two(2)
functions. First, it protects the Plaintiff against arbitrary and

unfair treatment by State Officials. This aspect of the 14th

Amendment is known as Substantive Due Process. Substantive Due

Process rights were violated, when Attica Corr. Fac.
Superintendent J. Wolcott, and Dep. of Security Mr. White. Allowed

the Plaintiff to be abused by the Hostage Rescue Team. The

Defendants are acting under the color of State Law. see..

Estelle v. Gamble, 429 U.S. 97, 97 S.Ct. 285, 50L. Ed. 2d

251(1977). The Supreme Court ruled that "Deliberate Indifferemce
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constitutes the unnecessary and wanton infliction of

pain,...proscribed by the 8th Amendment." see... Grege v. Georgia,

428 U.S. 153, S.Ct. 2909, 49 L. Ed. 2d 859 (1976).

21. The Second function of the Due Process clause is to ensure
that the Plaintiff is and was not deprived for life, Liberty or
property without due process of the Law. This aspect of the i4the

Amendment is known as Procedural Due Process. The Plaintiff under

this clause [has] met the requirement of a 14th Amendment
violation. First, the Plaintiff was deprived of his liberty and
adequate medical treatment and care interests. When, the Plaintiff
needed medical attention after the physical abuse from the Hostage
Rescue Team. This left the Plaintiff to suffer in his condition
while having to file multiple grievances seeking medical help.

22. The Third requirement for procedural Due Process claim is that
the medical staff at Attica Corr. Fac. intended to deprive the
Plaintiff of his liberty and/or life interests. When he was never

seen by staff while seeking medical help. see. Hathaway v.

Coughlin, 99 F. 3d 550, 553 (2nd cir.(1996).

23. Defendant('s) Anthony J. Annucci, Superintendent J. WOlcott,
Dep. of Security Mr. White, OSI Officer's, Medical Superintendent
S. Beck and the Hostage Rescue Team were deliberately indifferent
to the Plaintiff's rights and (DOCCS) policies. Court(s) have held
that repeated examples of negligence and negligent acts, which
disclose a pattern of conduct by the prison staff may add up to

deliberate indifference. see... Langley v. Coughlin, 715 F. Supp.

552, 541 (S.D.N.Y.)(1998)

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24. As one Court has held: Deliberate indifference can be proved
by showing a prison offical's mental state... but deliberate
indifference is also a standard for measuring the adequacy of
prison offical's responses to the known medical needs of
incarcerated individuals to make their needs known.

25. Deliberate indifference to a serious Mental Health need. The
PLaintiff has been on Mental Health medications and getting help
from Mental Health specialists for years due to his (PTSD)
condition, due to the eight days of abuse has worsened the
Plaintiff's condition. The Plaintiff asked for Mental Health help

but was not able to see a Mental Health provider.

Statement of Cause of Action

Relevant to the Action Herein:

First Cause of Action:

Deprivation of U.S. 8th and 14th Amendment

26. Anthony J. Annucci, and Superintendent J. Wolcott, Dep. of
Security Mr. White, the supervising defendant's. Were, "Grossly
Negligent in supervising their subordinates." It is also apparent
that Mr. Bruno is alleging that this failure to supervise resulted
in Mr. Bruno being abused by Officers when Anthony J. Annucci,
failed to ensure that the Hostage Rescue Team wear body camera's
to ensure the safety of the prisoners in DOCCS custody. see..

Farmer v. Brennan, 511 U.S. at 837,114 S.ct. 1970

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27. J. Wolcott, Dep. of Security Mr. White were ''Grossly Negligent
in supervising their subordinates." It is also apparent that
Mr.Bruno is alleging that this failure to supervise. Resulted in
Mr. Bruno being physically assaulted and have his medical knee

brace taken away by the Hostage Rescue Team.

Second Cause of Action:
Deliberate Indifference to Serious Medical Need
28. Dep. Superintendent of Health S. Beck was "Grossly Negligent
in supervising subordinates." It is also apparent that Mr. Bruno
is alleging that this failure to supervise resulted in Mr. Bruno
to have suffered in his condition. As he informed medical that the
Hostage Rescue Team too his medically needed knee brace during the

search. see... Colon, 588 F. 3d. at Poe v. Leonard, at 873; 282 F.

3d 123, 140 (2nd cir. 2002)

Pleading or Relief Sought by the Plaintiff:

29. Plaintiff seeks a Jury Trial, for punitive damage's, declatory
and monetary relief in the amount of $15,000,000.00From Anthony J.
Annucci, who was deliberately indifferent to the safety of the
Plaintiff when he failed to ensure that the Hostage Rescue Team
wear body cameras during an eight day search of Attica Corr. Fac.
30. Plaintiff seeks a Jury Trial, for punitive damage's, declatory
and monetary relief in the amount of $10,000,000.From Dep. of

Security Mr. White. For the failure to supervise the Hostage
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Rescue Team during the eight day search. This failure to supervise
resulted in Mr. Bruno being physically assaulted with excessive
violence and force by the Hostage Rescue Team.

31. Plaintiff seeks a Jury Trial, for punitive damages,
declaratory and monetary relief in the amount of $7,000,000 00From
J. Wolcott the Superintendent of Attica Correctional Facility who
was "Grossly Negligent in supervising [her] subordinates." The
Superintendent allowed this violent assault to go on for eight
days under her control.

32. Plaintiff seeks a Jury Trial, for punitive damages,
declaratory and monetary relief in the amount of $4,000,000 From
the Superintendent of the Medical Department at Attica
Correctional Facility, S. Beck, who was "Grossly Negligent in
supervising medical staff who never responded to the Block for
eight days and let the inmates suffer in their conditions.

33. Plaintiff seeks a Jury Trial, for punitive damages delcaratory
and monetary relief in the amount of $6,000,000 .00From each OSI
Officer who witnessed the Hostage Rescue Team violently assault th
inmates at Attica Correctional Facility for eight days while
searching.

34. Plaintiff seeks a Jury Trial, for punitive damages,
declaratory and monetary relief in the amount of $25,000,000 From
the Hostage Rescue Team for the violent assaults on the inmates at

the Attica Correctional Facility for eight days.
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Signed: ANToN To BAUNO Day of 9-2-2022

Pro Se Plaintiff

Antonio Bruno
Din# 09A2092

I, Antonio Bruno, Declare under the Penalty of Perjury, 28

U.S.C.§1746, Duncan v. Foti, 828 F. 2d 297, That the above written

complaint is true and correct.

Otoni® Brunt

Pro Se Plaintiff:
Antonio Bruno

Din # 09A2092
Attica Corr. Fac.
639 Exchange Street
Attica, New York
14011-0149

Dated: O- 2 - ,2022

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“1: Prove, a ice 7 a Sk. 35e3/'

FROM tag ao
GRC

DATE: yay 18202

RES GRIEVANCE SUBMITTAL a

Today this Office has i received: your comping dated |

- Dtias been logged as Grievance # a . eo is / Code _ 7 and:
tiled, a _. You will b Scheduled foran IGRC hearing «

- once the investigation has been completed.

L’] Ithas been consolidated as a “Like” grievance with Grievace #

AQ0L-2P2P
q It has been logged as Grievance _ AOL ~ce 4 Cede 49 and.
titled, Eu Ss Pies COLL E . tt hasigen. passed throvigh to the:

" Superintendent and you will recelve a response. directly fim the ‘Superintendent once othe.

investigatjon has been completed. .

itt is beng returned fo you as the ineident you ureferred. to teurted on -
Sete , Which is beyond: the 21- ~day timehe for filing a grievance, per -

” Directive rao4a s701 5 (a)(1). No ume! action will be taleny regarding this grievance,

Copies of gtlevaness Or supporting documentation should be reyes via the Fol Offs ioer rin 0

_ Bocordarioe with h Dirsetive #2010, ae

: cor Fe
» tachment

Attica Correctional Facllity, 689 Exchange Street, Attica, NY iotto14e | Giese 2000 ] waww,doces.ny.gov
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FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
INMATE GRIEVANCE COMPLAINT

Grievance No.

ATTICA CORRECTIONAL FACILITY
Date: st 9

Dept. No.: OFA20 O42 Housing Unit: € 5/34
A Neen

Name: A NTeontoa BRUNO

Program:

(Ptease Print or Type ~ This form must be filed within 21 calendar days of Grievance Incident)*
Description of Problem: (Please make as brief as possible) TMi AMendin3 GrieVance That Was
Subnitted bated 5/8/22, 0n Aveil 24,2022 ALL tncarcerated Individu
were Lock Dawn due to the Distuobance In c/Alock We ALL Was
Lock clown For 8 Days. T Suffered From Dbrzziness, dehydration,
And bisptisatation | Due To heat Exhaution.A Severe Rash fom heat
And Plastic Mattress, Aeonchial TART tation Fires Tn c/Block And

Increased Pain To A Pre Existing Back Cond: ition Frou Qa SHall Bed,
and artheitis In my Le¥+ Knees? F

Grievant

Signature: AxTolTo AR UND

Grievance Clerk:

Advisor Requested [lyeEs [Ino Who:
Action requested by inmate: I Roe Quest Tnve at, aati on InvolvinS Cond; ition Ss

of Confine meat, MY ConTiTy Tional Rights have Been Violatecl

Aad T have. NePrived of LibertY Where IF Cavld not PooGram or tik
do Shower or talk to MY famil¥ on the Phone, T Suffered Frou PhY¥sical In3ury,

The Grievance has been formally resolved as follows:

Date:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: | Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
*An exception to the time limit may be requested under Directive #4040, section 701 .6(q).
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FORM 2131E (REVERSE) (9/12)
Response of IGRC:

Date Returned to Inmate: _ IGRC Members:

Chairperson:

Return within 7 calendar days and check appropriate boxes.”

L] | disagree with IGRC response and wish to [_] | have reviewed deadlocked responses.
appeal to Superintendent. Pass-Thru to Superintendent.
[] { agree with the IGRC response and wish to [-] lt apply to the IGP Supervisor for
appeal to the Superintendent. review of dismissal.
Signed:'
Grievant Date
Grievance Clerk's Receipt / Date

To be completed by Grievance Clerk.

Grievance Appealed to the Superintendent: _
Date ‘

Grievance forwarded to the Superintendent for action:

Date

* An exception to the time limit may be requested under Directive #4040, section 704 .6(g).
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AMENDING ComBtNE wrth PAGE 4-5,
“ost OFFICERS WERE PRESENT DATED 5/4/22, there
naMes ace AMMERMAN DAVTS Orson, KEAMEDY, TheY weteh
Hostade Rescue Team (A)ABusE there Author: ty, (&) By
Hacassttent of Peisoners against DePactHent Rules”
(c) There ASSAULT on PeisonierS and there (Physical /
PsY¥choLoGtcaL) AGAinet Prisonees, In a Witness to
this Tncidont dated 5/4/22, that O08 officers did
Nothind +e Sto the OF Ficer's Prom Abusein4 PoiSoners
Tn there Cell and out there Cell with BauT Foack”
Futhermore Hoskade Rescue Team (ueaT) dd not have
there bedY Cavera On thers In C- Block 35-34 CoH Pany
tha¥ have Camera's on the CortPanY “See the Canera fae Your Review
TL Quete Under Nicective No.4910 For Control of &
Search For Contraband of ficer’s Violated the Directive
bY Comeing In the Cell WhY Im still In HY Cell, £ Oot
Par/anoid L told the Officers cL Need to See. Hental
health [+5 Urdent, the offscor’c that Were In HY
Cell With Me told He +o. Shut the fuck ve and Srab
Your Mat+tre oe And Back vp, Officers clenY Me Henta
Health” and TM a Client T Suffered frou (PTS) and
Im on Medacation For HY Condition, See Directive No.4919
SedPlacetent of Incarcerated Individvaleanlfirong Was
never to enter MY Cell why Im Still In vy cell, officers.

: Violated there enPloyee Manual BY not AP Pre achind MY Gocte
_Fiest Berore Contin In My cell thad Nee State ol |
LD. ond Razoeg. See the COoMera Pao Your Revi

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ew"

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Tr Was not fecal food by officers dated 5/4/22,
No laundey or cleaning Supplies available te Me

ot Prisoners, I Could Work out In the Yard +o

do the ProPer therary fop MY arthritis Tn My
left knee.

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Case 1:22-cv-00686-LJV Document1 Filed 09/

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The EXCeESSiVe heat In MY Cell Made Me dizzy,
dehYdrated, and disoriented, and Save Me Severe
rash, that SMoke Prom rolled toilet PaPer Wicks”
and Ffreduent US@ OF “eusk e+ 3ave Me bronchig|
Irritation and runny nose, and the Small bunk
aSSravated my Back and the arthritis 4, MY LeD+t
Knee, and Its documented about my Left knee for

~ PAYSical Indury, OF £icepre not Feeding Me MY food, 7

+: Prisoners, OF L ice pis al
Me Mental health When of Lice ps °

Cell Made me Very Paranoid, Li cen.

Cell throwing le3al doCumentiec On the Flap
On +h e Floor, OF Piteng Not Putt},

erly Fashion and all My State
Ond Persong| ProPenty Shall ba EXAM ined Care fullY ji?

ition they Were Prion +
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5)

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. There Was no cold water or hot water Was
the Covse Por MY dehVdration anal dizziness, t

Was CoH laining about MY le f+ Knee becauee

I.W4s In Pain due to the arthritis,to the

of Ficer about MY left kaee and theY Refuse me

teeatment and I dro & Sick Call slip dated “
May 4,27022 for My Knee no NUrSée Came +o See

Me the next clay, I WAS Refuse treatment, i Y
Medical staff, r Could'it workout Tp the Yard to do

the Peover therary fon MY arthni tie In my lePt Kee.

LT Suffered from PhY¥sical Indury. See the Cavtere for
Youn Reveiw.

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a\Ln the Pucture Seanchls) of such Kind, the
OF Ficen(s) follow Nirective 49140 And Put my Profenty
back aS neat as Possible”

2) That each LnMate PelCeive O bottle of Wate op rf Such
Search take hove(s);

Aad 3). That Inmate(s) be feed Pood ProfealY 2 Meals a clay
and be allowed +o take Shower ls) U Se

+h e Phone anal So to
the Yard to Work out PhYi<co | thera’ y for My le+ Kneé,

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hater: & &, BAAS

“elclre:

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OM ANTHONY J. ANEMIC!

Fore: OPPy
RUae CoP HT

To: Bruno, A. - #O9A2092 C-35-34
From: IGPS K. Hostetti gp)

Date: 7/21/2022

Re A-1001-22

Contrary to your assertions your appeal was sent to CORC on 7/11/2022. When the investigation
is completed and a Supt. response is written it will be forwarded to you. If you wish to make an

additional appeal statement at that time you can send it to my office and it will be forwarded to
CORC to be added to the grievance file for A-1001-22.

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J biw | Corrections and
~ ee | Community Supervision

ANTHONY J. ANNUOCC!
Acting Commissioner

To: Bruno, A. - #09A2092 C-35-34

From: IGPS K. Hostetter ((y)

Date: 7/7/2022
Re: A-1001-22

| am in receipt of your request to appeal A-1001-22 to CORC. Your grievance file will be pulled
and processed. Your appeal will be forwarded to CORC within 7 days as outlined in Directive

#4040.

0314-22

rectional Facility, 639 Exchange Streat, Atfica, NY 14011-0749 | (585) 891-2000 | www.deces.ny.gov
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ANTONIO BRUNO #0942092 “SSTERN DISTRICL =
ATTICA CORR, FACILITY

22 CV 686 \/

PO BOX 149

ATTICA ,NEW YORK 14011-0149

9-2-22
UNITED STATES DISTRICT COURT CLERK
200 U.S.COURTHOUSE

2 NIAGARA SQUARE
BUFFALO ,NEW YORK 14202-3498

P:(716)551-1700

DEAR.STIR OR MADAME:

I WRITE YOU TO INFORM THE COURT THAT IM SUBMITTING A PETITION IN YOUR COURT

FOR A CIVIL LAW SUIT AGAINST ATTICA CORR, FACILITY ENCLOSE TO THE PETITION
AND ATTACHED TO THE DOCUMENTS IS THE GRIEVANCE COMPLAINT THAT: WAS EXHAUSTED BY

CORG IN ALBANY.

YOUR TIMELY RESPONSE WOULD BE GREATLY APPRECIATIVE IN THIS MATTER.

RESPECTFULLY SUBMITTED
ANTONIO BRUNO#09A2092

C/C/F:
Case 1:22-cv-00686-LJV Document1 Filed Oot 212% Pack 23 of 25 VY
CIVIL COVER SHEET 2 V 686

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
Antonio Bruno #09A2092

JS 44 (Rev. 10/20)

Anthony J. Annucci, et al

(b) County of Residence of First Listed Plaintiff Wyoming
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys ({f Known)

Pro Se
II. BASIS OF JURISDICTION (Place an “X” in One Box Only} II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
C 1 U.S. Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State (11 [4] 1 Incorporated or Principal Place [14+ (4
of Business In This State
CJ 2 U.S. Government Cc] 4 Diversity Citizen of Another State C] 2 CT] 2 Incorporated and Principal Place CL] 5 CL] 5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a (13 [] 3. Foreign Nation C] 6 C] 6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 4 422 Appeal 28 USC 158 375 False Claims Act
120 Manne 310 Airplane C] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | ]690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability LC 367 Health Care/ 400 State Reapportionment
[J 150 Recovery of Overpayment |] 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
15] Medicare Act | 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability O 368 Asbestos Personal i_} 835 Patent - Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |__| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets il 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
CI 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act tii] 485 Telephone Consumer
|_| 190 Other Contract Product Liability L_| 380 Other Personal | 720 Labor/Management SOCIAL SECURITY Protection Act
| 195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) t 490 Cable/Sat TV
{|_| 196 Franchise Injury CT 385 Property Damage a Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |__ Exchange
Medical Malpractice . Leave Act 864 SSID Title XVI 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |_|790 Other Labor Litigation [[_] 865 RSI (405(g)) |_| 891 Agricultural Acts
|_| 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: | _]791 Employee Retirement | | 893 Environmental Matters
|__| 220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
| 230 Rent Lease & Ejectment |__| 442 Employment 510 Motions to Vacate 870 Taxes (U.S. Plaintiff Act
|_| 240 Torts to Land |_| 443 Housing/ Sentence or Defendant) - 896 Arbitration
|_| 245 Tort Product Liability Accommodations | | 530 General C] 871 IRS—Third Party 899 Administrative Procedure
LC] 290 All Other Real Property | 445 Amer. w/Disabilities - i | 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other | 550 Civil Rights Actions State Statutes
| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X” in One Box Only)
1 Original 2 Removed from 3
Proceeding State Court

Remanded from
Appellate Court

C4

Reinstated or C5 Transferred from 6 Multidistrict 8 Multidistrict
Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

42 U.S.C. §1983

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):

VIL CAUSE OF ACTION

Brief description of cause:

VIL REQUESTED IN ~~ [] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, FRCv.P. JURY DEMAND: Llyes ([INo
VII. RELATED CASE(S)
IF ANY (See instructions): JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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